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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

J.K et al.                                    )
                                              )
               Plaintiffs,                    )
                                              )       No. 24-cv-07644
               v.                             )
                                              )       Judge: Franklin U. Valderrama
Advanced Reproductive Health Center,          )
Ltd                                           )
            Defendant.                        )

                    UNOPPOSED MOTION FOR EXTENSION OF TIME
                        TO ANSWER OR OTHERWISE PLEAD

        Defendant Advanced Reproductive Health Center, Ltd. (“ARHC”), through its attorneys,

respectfully requests that the Court grant this unopposed motion for extension of time to answer

or otherwise plead. In support of this motion, Defendants states as follows.

        1.     This case was filed on August 23, 2024 (Dkt. #1), and Defendant was served on

September 24, 2024 (Dkt. #11). Accordingly, the answer or responsive pleading is due on or before

October 15, 2024.

        2.     This case is similar to another lawsuit filed in this district before Judge Pacold, A.M.

v. Advanced Reproductive Health Center, Case No. 24-cv-07599. The answer or responsive

pleading in that case is currently due on or before October 24, 2024.

        3.     Defendant is concurrently preparing a motion for relatedness, reassignment, and

consolidation pursuant to Local Rule 40.4 and Fed. R. Civ. P. 42(a) before Judge Pacold.

        4.     Additionally, Defendant is working with its insurance carriers to evaluate potential

coverage given the allegations in both lawsuits. The determination of insurance coverage will

have significant implications for this case, including whether Defendant will be represented by

counsel appointed by the insurer.
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       5.      Given the complexities of the allegations and legal theories in both complaints,

Defendant is also conducting its own investigation and requires additional time to prepare an

answer or other responsive pleading.

       6.      Defendant’s counsel has conferred with Plaintiffs’ counsel, and Plaintiffs do not

object to the Court granting this motion.

       7.      Defendant’s motion for an extension of time is not intended to cause undue delay.

Due to the circumstances and the timing of counsel’s retention, an additional thirty (30) days is

necessary to prepare an appropriate answer or responsive pleading.

       WHEREFORE, Defendant respectfully requests that the Court grant it an additional thirty

(30) to November 13, 2024 to file its answer or responsive pleading.

                                                    Respectfully submitted,

                                                    Advanced Reproductive Health Center, Ltd

                                                    By: /s/ Walker R. Lawrence
                                                            One of Defendant’s Attorneys

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                               CERTIFICATE OF SERVICE

       I, Walker R. Lawrence, an attorney, hereby certify on October 15, 2024 that I caused a

copy of the foregoing Unopposed Motion For Extension of Time To Answer or Otherwise Plead

to be served upon all counsel of record via the Court’s CM/ECF system.



                                                  By: /s/ Walker R. Lawrence




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